AO 245B (Rev. 09/19) (VAE 6/3)   Judgment in a Criminal Case
                                 Sheet 1


                                         UNITED STATES DISTRICT COURT
                                             Eastern District of Virginia
                                                 Richmond Division
             UNITED STATES OF AMERICA                                )     JUDGMENT IN A CRIMINAL CASE
                                                                     )
                                 v.                                  )     Case Number:           3:23cr68-2
                                                                     )
                       TONYA FARLEY                                  )     USM Number:            62636-510
                                                                     )
                                                                           Defendant's Attorneys: Jeffrey Everhart & Robert Wagner (CJA)
                                                                     )
                                                                     )
The defendant was found guilty on Count 5s after a plea of not guilty. The defendant was found not guilty on Counts 2s &
4s after a plea of not guilty.
The defendant is adjudged guilty of:

 Title and Section                    Nature of Offense                                                 Offense Ended                Count

 18 U.S.C. § 1001                     False Statements                                                      4/4/2023                   5s




   The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

   The defendant has been found not guilty of:
   Count(s) 2, 3 & 4         ☐ is      ☒ are dismissed on the motion of the United States.

    It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

                                                                         5/8/2025
                                                                         Date of Imposition of Judgment


                                                                                                            /s/
                                                                         Signature of Judge

                                                                         Roderick C. Young, United States District Judge
                                                                         Name and Title of Judge

                                                                         5/8/2025
                                                                         Date
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         Sheet 2 - Imprisonment

Case Number:                  3:23cr68-2
Defendant’s Name:             Farley, Tonya


                                                             IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 6 MONTHS ON COUNT 5S. The defendant shall receive credit for time served pursuant to 18 U.S.C. § 3585.
The Court makes the following recommendations to the Bureau of Prisons:
    1. The defendant shall receive educational and vocational training while incarcerated.
    2. The defendant shall receive an evaluation for the need of mental health treatment while incarcerated.
    3. The Court recommends that the defendant be housed as close to her family as possible.
    4. The Court recommends that the defendant serve her sentence at a BOP camp. This sentence is not to be served at a local jail.

     The Court makes the following recommendations to the Bureau of Prisons:

          ☐         The defendant is remanded to the custody of the United States Marshal.
          ☒         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


          ☒         by 10 a.m. on 6/9/2025.


          ☐         as notified by the United States Marshal.
          ☒         If the defendant is not notified of the institution designated, defendant shall report to the United States Marshal at 701
                    East Broad Street, Richmond, Virginia:

          ☒         by 10 a.m. on 6/9/2025.
          ☐         as notified by the United States Marshal.
          ☐         as notified by the Probation or Pretrial Services Office.


                                                                  RETURN

I have executed this judgment as follows:

Defendant delivered on                                                to
at                                                                , with a certified copy of this Judgment.



                                                                  ________________________________________
                                                                  UNITED STATES MARSHAL


                                                        By        ________________________________________
                                                                  DEPUTY UNITED STATES MARSHAL
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         Sheet 3 – Supervised Release


Case Number:                  3:23cr68-2
Defendant’s Name:             Farley, Tonya


                                                         SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a term of 3 YEARS ON COUNT 5S.



                                                   MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release on
      supervised release and at least two periodic drug tests thereafter, as determined by the court.
4.    ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse. (check if applicable)
5.    ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution. (check if applicable)
6.    ☐ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
7.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
8.    ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions listed in this judgment as well as with any other special conditions listed in this
judgment.
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         Sheet 3 – Supervised Release


Case Number:                  3:23cr68-2
Defendant’s Name:             Farley, Tonya


                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
    from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
    excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
    the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov


Defendant's Signature                                                        Date
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         Sheet 5 – Criminal Monetary Penalties

Case Number:                  3:23cr68-2
Defendant’s Name:             Farley, Tonya


                                     SPECIAL CONDITIONS OF SUPERVISION
     1.   The defendant shall be on home detention for 6 months. The defendant is restricted to her residence at all times except for
          employment; education; religious services; medical, substance abuse or mental health treatment: attorney visits; court
          appearances: court-ordered obligations; or other activities approved in advance by the supervising officer. The participant shall
          pay all or part of the costs of participation in the location monitoring program as directed by the court and the supervising
          officer. The location monitoring technology to be used shall be at the discretion of the supervising officer.
     2.   The defendant shall participate in a program approved by the United States Probation Office for mental health treatment and
          follow the rules and regulations of that program. The cost of this program is to be paid by the defendant as directed by the
          probation officer. The defendant shall waive all rights of confidentiality regard mental health treatment to allow the release of
          information to the United States Probation Office and authorize communication between the probation officer and the treatment
          provider.
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         Sheet 5 – Criminal Monetary Penalties

Case Number:                  3:23cr68-2
Defendant’s Name:             Farley, Tonya



                                             CRIMINAL MONETARY PENALTIES
  The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                              AVAA                     JVTA
                       Assessment                Restitution              Fine
                                                                                              Assessment*              Assessment**
  TOTALS            $ 100.00                 $                        $                   $                        $

  ☐ The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

  ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

  Name of Payee                                                    Total Loss***       Restitution Ordered         Priority or Percentage




  TOTALS                                                       $

  ☐ Restitution amount ordered pursuant to plea agreement $
  ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
    the fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
    subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

  ☐    The Court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☐ the interest requirement is waived for the ☐ fine ☐ restitution.
       ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
    on or after September 13, 1994, but before April 23, 1996.

      Payments of Restitution are to made payable to the Clerk, United States District Court, Eastern District of Virginia.
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         Sheet 6 – Schedule of Payments

Case Number:                  3:23cr68-2
Defendant’s Name:             Farley, Tonya


                                                  SCHEDULE OF PAYMENTS
  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     ☐      Lump sum payment of $      due immediately, balance due
               ☐ not later than                           , or
               ☐ in accordance with ☐ C, ☐ D, ☐ E, or ☐ F below; or

  B     ☒      Payment to begin immediately (may be combined with ☐ C, ☒ D, or ☒ F below); or

  C     ☐      Payment in equal            (e.g., weekly, monthly, quarterly) installments of $        over a period of     (e.g., months or
               years), to commence             (e.g., 30 or 60 days) after the date of this judgment; or

  D     ☒      Payment in equal monthly installments of not less than $25.00 per month until paid in full. Said payments shall
               commence 60 days after defendant’s supervision begins.

  E     ☐      Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
               imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

  F     ☒      Special instructions regarding the payment of criminal monetary penalties:
               Payment of any unpaid balance shall become a special condition of supervised release.
Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

  ☐     Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                          Joint and Several               Corresponding Payee,
        (including defendant number)                         Total Amount              Amount                         if appropriate




  ☐     The defendant shall pay the cost of prosecution.

  ☐     The defendant shall pay the following court cost(s):

  ☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
  assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
  including cost of prosecution and court costs.
